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                       IN THE UNITED STATES BANKRUPTCY COURT
                                  Northern District of Iowa

In the Matter of:                                           :
                                                            :      Case No. 20-01375
Gary W. Dittrick                                            :
                                                            :      Chapter 13
                                                            :
                         Debtor.                            :


                              DEBTOR’S SECOND MODIFIED PLAN

        COME NOW the Debtor herein, by and through counsel, and modifies the Plan filed on the 14th

day of December 2020, as modified by the Modified Plan(s) filed on the 16th day of February 2021, and

confirmed by order of this Court on the 20th day of September 2021, as follows:

        The Debtor has incurred debt in the amount of $4,984.00 as an arrearage on a post-petition

mortgage payment along with attorney fees and costs. The Trustee is directed to pay this post-petition

arrearage debt as a secured priority arrearage claim through the monthly plan payments made by Debtor

under the plan.

        The provisions and the terms of the original plan, to the extent that they are not inconsistent with

the provisions herein, shall remain in full force and effect.

                                                            Respectfully submitted,

                                                            /s/ Kevin D. Ahrenholz
                                                            Kevin D. Ahrenholz       AT0000438
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